                             UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF ALASKA

                                                )
 UNITED STATES OF AMERICA                       )
                                                )         Case: 3:09-cr-00132-TMB-2
             vs.                                )
                                                )       ORDER ON TERMINATION OF
 DEANNA SCAGLIONE                               )         SUPERVISED RELEASE


Based on the Report and Order Terminating Supervised Release filed on March 27, 2014,
regarding the above-named defendant, IT IS HEREBY ORDERED that:

[x]    The defendant is discharged from supervised release and that the proceedings in the case
       be terminated.

[ ]    Other: ___________________________________________________________
       _________________________________________________________________

       _________________________________________________________________

       _________________________________________________________________



                              Dated this 27th day of March, 2014.



                                            /s/ Timothy M. Burgess
                                            TIMOTHY M. BURGESS
                                            U.S. DISTRICT JUDGE




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